                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE – COURTROOM 3A

  Case #: 3:21-mj-2139                                                  Date: August 10, 2021

               United States of America            vs. Clifford Meteer

    3UHVHQWEHIRUH Honorable H. Bruce Guyton, Chief United States Magistrate Judge

    Mallory Dahl                ECRO                                     April Bradford
    Deputy Clerk                Court Reporter                           Probation Officer

    Casey Arrowood              Benjamin Sharp
    $VVW86$WW\            $WWRUQH\ V IRU'HIHQGDQW V               $WWRUQH\ V IRU'HIHQGDQW V &RQWG

              3URFHHGLQJV3DUWLHVSUHVHQWIRUD5XOHLQLWLDODSSHDUDQFHRQDZDUUDQWLVVXHGRXWRIWKH
                           -                                       Columbia                                          
                                         'LVWULFWRI
      ✔ Defendant sworn.
      ✔ Defendant requested appointment of counsel and submitted financial affidavit.
      ✔ Court approved financial affidavit and appointed counsel
        Defendant present with retained counsel.
        Government requested detention of the defendant:
      ✔ 'HIHQGDQWZDLYHGDQGUHVHUYHGWKHULJKWWRD5XOHKHDULQJLQWKLVGLVWULFW
        'HIHQGDQWUHTXHVWHGD                      KHDULQJ
                                +HDULQJ set.              +earing held.
      ✔ Parties agreed to conditions on which the defendant could be releasedDQGWKHGHIHQGDQWLV2UGHUHGWR
        DSSHDULQRULJLQDWLQJGLVWULFWRQ August 17, 2021 at 1:00 p.m.
        'HIHQGDQWUHPDQGHGWRWKHFXVWRG\DQGWKH860DUVKDO6HUYLFHLVGLUHFWHGWRWUDQVSRUWWKHGHIHQGDQW
        WRWKHRULJLQDWLQJGLVWULFWIRUIXUWKHUSURFHHGLQJV
        &DVHXQGHUVHDODVWRGHIHQGDQW V 
                               8QVHDOHGXSRQJUDQWLQJRIPRWLRQE\$86$7RUHPDLQXQGHUVHDO

Dates set at this hearing:
  Detention Hearing:
  2WKHU+HDULQJ

  Time: 3:15 p.m.        to 3:30 p.m.

  , Mallory Dahl        'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLRILOH

  .QR['&5B 321mj2139               B 081021                 B




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